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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 11/2/2020
                                                                       :
ERIC FISHON and ALICIA PEARLMAN, individually :
and on behalf of all others similarly situated,                        :
                                                                       :
                                    Plaintiffs,                        :     19-cv-11711 (LJL)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
PELOTON INTERACTIVE, INC.,                                             :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

       The parties are hereby provided notice that it has disposed of the Peloton shares that
created the conflict of interest and that it has therefore purged itself of the conflict. The Court
intends to continue to preside over this case.

        SO ORDERED.


Dated: November 2, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
